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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

 M.D., by her next friend, Sarah R.        §
 Stukenberg, et al.,                       §
                                           §
         Plaintiffs,                       §
                                           §
 v.                                        §      Civil Action No. 2:11-CV-00084
                                           §
 GREG ABBOTT, in his official              §
 capacity as Governor of the State of      §
 Texas, et al.,                            §
                                           §
         Defendants.                       §


        DEFENDANTS’ NOTICE OF AUTOMATIC SUBSTITUTION OF
      DEFENDANT STEPHANIE MUTH, IN HER OFFICIAL CAPACITY AS
        COMMISSIONER OF TEXAS DEPARTMENT OF FAMILY AND
      PROTECTIVE SERVICES, IN PLACE OF FORMER COMMISSIONER
                         JAIME MASTERS


        Please note that Stephanie Muth took office as Commissioner of the Texas

Department of Family and Protective Services effective January 2, 2023, and is

automatically substituted under Federal Rule of Civil Procedure 25(d) as a Defendant

for former Commissioner Jaime Masters. Defendants respectfully request that the

Clerk update the records of this case to reflect this change.
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                                             Respectfully submitted,

Date: June 29, 2023                               /s/ Allyson N. Ho
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                              CERTIFICATE OF SERVICE

        I hereby certify that on June 29, 2023, a true and correct copy of the foregoing
document was electronically filed with the Clerk of the Court using the electronic case
filing system, which automatically provided notice to all attorneys of record.


                                                 /s/ Allyson N. Ho
                                               Allyson N. Ho




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